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                                     UNITED STATES BANKRUPTCY COURT

                                      NORTHERN DISTRICT OF FLORIDA




In re:   Roger Unger                                              Case No.: 18-40443
                                                                  Chapter 7

DEBTOR                           /



           ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION
     TO (I) APPROVE A SHORT SALE OF REAL PROPERTY FREE AND
     CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS
      PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE
     AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE,
                  AND (III ) OTHER RELIEF (DOC. 64)

         THIS CASE came before the court to consider the Chapter 7 Trustee's Motion to (I) Approve a

Short Sale of the Real Property Free and Clear of Liens, Claims, Encumbrances, and Interests Pursuant to

11 U.S.C. §363(b), (f), and (m), II Surcharge Agreement Between the Secured Lender and the Estate and

(III) Other Relief (Doc. 64) (the “Motion”). The Motion was served upon all interested parties and the

Report and Notice of Intent to Sell Property of the Estate (Doc. 63) informed the parties of their

opportunity to respond within 21 days of the date of service; no party filed a response within the time

permitted; and the Court therefore considers the Motion unopposed. Accordingly, it is:

         ORDERED and ADJUDGED as follows:

         1.     The Motion (Doc. 64) is GRANTED.

         2.     The Trustee is authorized to sell the real property described as follows:

         THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF LEON, STATE OF
         FLORIDA, AND IS DESCRIBED AS FOLLOWS: LOT 7, BLOCK "A", PINE GROVE, A SUBDIVISION AS
         PER MAP OR PLAT THEREOF, RECORDED IN PLAT BOOK 3, PAGE 15, OF THE PUBLIC RECORDS OF
         LEON COUNTY, FLORIDA.
         Parcel ID: 111985 A0070
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more commonly known as, 504 TRUETT DR TALLAHASSEE, FL 32303 (the “Real Property”), for
$135,000.00 with a $20,000 .00 “carve-out fee” to the estate, conditioned on the consent of its
lienholder(s), and in accordance with the terms provided for in the Motion.

        3.       The Trustee is authorized to pay the secured mortgage creditors, Mr. Cooper, and

Regions (also known as “Secured Creditor”) the full amount of their lien as of the date of closing or other

amount agreeable to the Secured Creditor to release their lien.


        4.       The Trustee is authorized to take any all actions and to execute any and all documents

necessary and appropriate to effectuate and consummate the terms of said sale, including, executing a

deed conveying the interests of the Debtor in the Real Property to Jonathan Kelly (the “Buyer”).


        5.       Pursuant to Section 363(f) of the Bankruptcy Code, effective upon closing, the sale of

the Real Property will vest in the Buyer(s) all right, title and interest of the Debtors and the bankruptcy

estate in the Real Property, free and clear of the liens, claims or interests listed below (collectively, the

“Affected Interests”):




                         1. Roger Unger, Debtor, name on deed

                         2. Mr. Cooper, mortgage lienholder

                         3. Regions, mortgage lienholder



        6.       This Order is and shall be effective as a determination that, upon and subject to the

occurrence of the closing of the sale, all Affected Interests have been and hereby are adjudged and

declared to be unconditionally released as to the Real Property.

        7.       The Buyer has not assumed any liabilities of the Debtor.

        8.       The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to, (a) all delinquent real property
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taxes and outstanding post-petition real property taxes pro-rated as of the closing with respect to the

real property included among the purchased assets; and (b) other anticipated closing costs


Total Sales/Brokers Commission:

        2% to Lord & Stanley Realty Inc

        2% to Regal Homes, LLC

        2% to BK Global Real Estate Services

Bankruptcy Estate Fee

(incl. 506(c) surcharge, Trustee Liability Insurance)

Satisfaction of Liens

Without further order of the court, the Trustee is authorized to pay closing costs.

        9.       Except as otherwise provided in the Motion, the Real Property shall be sold, transferred,

and delivered to Buyers on an “as is, where is” or “with all faults” basis.

        10.      Buyer is approved as a buyer in good faith in accordance with Section 363(m) of the

Bankruptcy Code, and Buyer shall be entitled to all protections of Section 363(m) of the Bankruptcy

Code.

        11.      This Court retains jurisdiction to enforce and implement the terms and provisions of this

Order and the purchase agreement, all amendments thereto, any waivers and consents thereunder, and

each of the documents executed in connection therewith in all respects, including retaining jurisdiction

to (a) compel delivery of the Real Property to the Buyer(s), (b) resolve any disputes arising under or

related to the purchase agreement, and (c) resolve any disputes regarding liens, claims, or interests

asserted against the Real Property.
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        12.     The purchase agreement and any related documents or other instruments may be

modified, amended or supplemented by the parties thereto, in a writing signed by both parties without

further order of the Court, provided that any such modification, amendment or supplement does not

have a material adverse effect on the Debtors’ bankruptcy estate.


                                   18th day of July 2019.
        DONE AND ORDERED this the ______

                                                          ______________________________
                                                          KAREN K. SPECIE
                                                          United States Bankruptcy Judge


This Order Prepared by: Sherry F. Chancellor, (Amended in Chambers)



CC:     All Parties in Interest



Sherry F. Chancellor is hereby directed to serve a copy of this order on interested parties and file a
certificate of service within 3 days of entry of the order
